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      ORDERED in the Southern District of Florida on February 13, 2017.




                                                    Laurel M. Isicoff
                                                    Chief United States Bankruptcy Judge




_____________________________________________________________________________
                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION


      In re:

      MASSA FALIDA DO BANCO
      CRUZEIRO DO SUL S.A.,                                       Case No.:14-22974 – LMI
                                                                  Chapter 15
             Debtor in a Foreign Proceeding
      ___________________________________/

      LASPRO CONSULTORES LTDA.,
      a Brazilian Sociedade Limitada,
                                                                Adversary Proceeding no.: 16-01315-LMI
                Plaintiff

      v.

      ALINIA CORPORATION, a British
      Virgin Islands Company Limited by Shares,
      110 CPS, INC., a British Virgin Islands
      Company Limited by Shares,

             Defendants.
      ____________________________________/

                      ORDER GRANTING IN PART AND DENYING IN PART
               DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT (ECF 29),
               RESERVING RULING AS TO COUNTS VI-VIII, XVIII-XX AND XXX-XXXII,
                   AND ORDERING FURTHER BRIEFING AS TO THOSE COUNTS
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       THIS CAUSE came on for hearing on November 22, 2016 (the “Hearing”) on the Motion

to Dismiss Amended Complaint (“Motion”) (ECF 29) filed by Defendants, Alinia Corporation

(“Alinia”) and 110 CPS, Inc. (“CPS”) (collectively, the “Defendants”). As announced in open

court during the hearing held on February 8, 2017, the Court has considered the Motion, the

Amended Complaint and its exhibits filed by Plaintiff, Laspro Consultores LTDA, Trustee of

BCSUL (“Plaintiff”), the response filed by Plaintiff to the Motion (ECF 33), the reply filed by

Defendants (ECF 34), the declarations filed by all parties, the arguments of counsel at the

Hearing, and the submission of competing proposed forms of order on the Motion. Accordingly,

for the reasons stated and recorded in open court it is ORDERED and ADJUDGED that:

   1. The Motion is GRANTED IN PART and DENIED IN PART.

   2. The Motion is GRANTED as to the claims for violation of Brazilian Law N. 8.078/1990

       of the Brazilian Consumer Protection Code asserted in Counts IX, XXI and XXXIII.

   3. The Motion is DENIED as to the claims for constructive trust, equitable lien, fraudulent

       conveyance, violations of Article 186 of the Brazilian Civil Code, violations of Article

       884 of the Brazilian Civil Code, and violations of Article 130 of the Brazilian Bankruptcy

       and Judicial Reorganization Law (Law N. 11.101/2005) as asserted in Counts I-V, X-

       XVII, XXII-XXIX and XXXIV-XXXVI.

   4. Ruling is reserved as to the aiding and abetting claims asserted in Counts VI-VIII, XVIII-

       XX and XXX-XXXII (the “Aiding and Abetting Counts”) and the parties are hereby

       ordered to submit a supplemental brief on the specific questions announced by the Court

       on February 8, 2017, relating to the Aiding and Abetting Counts, on or before

       Wednesday, March 1, 2017 (the “Supplemental Briefing”).




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   5. Following the submission of the Supplemental Briefing, the Court will issue a further

       Order as to the Aiding and Abetting Counts and a Memorandum Opinion as to Motion as

       a whole.



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Submitted by:

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Copy furnished to:
Arnoldo B. Lacayo
(Attorney Arnoldo B. Lacayo is directed to mail a copy of this Order as indicated in the Order
and file a Certificate of Service with the Court.)




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